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uNITEl) sTArEs DISTRICT CoURT FH“‘§EE" l/ZM' -::,.c.
WESTERN nis'rRIcT oF TENNESSEE 95 ,
Western Division `“UL 2 i Y:H 8: 13

UNITED STATES OF AMERICA

_vS-

 

MARCUS TALLEY

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlND|NGS
In accordance With the Bail Reforrn Act, 18 U.S.C, § 3142(1‘), a detention hearing was not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

*** Arraignment set for Wednesday July 27, 2005 at 10:00am @ IO:OOam in C/R #5***
D|RECT|ONS REGARD|NG DETENT|ON

MARCUS TALLEY is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal MARCUS TALLEY shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection With a Couit proceeding

Date; Ju1y20,2005 "<OL/LML€/ z 'Q/!/Wf'

DIANE K. VESCOVO
UNITED STATES MAGISTRA'I`E JUDGE

 

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sDisrRiC COURT - WESTERN D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20231 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

